                Case 2:19-bk-14989-WB                  Doc 623 Filed 02/20/20 Entered 02/20/20 15:50:52                             Desc
                                                        Main Document    Page 1 of 6


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                     6

                     7

                     8                                    UNITED STATES BANKRUPTCY COURT
                     9                                     CENTRAL DISTRICT OF CALIFORNIA
                    10                                               LOS ANGELES DIVISION
                    11

                    12   In re:                                                          Case No. 2:19-bk-14989-WB
                                                                                         Jointly Administered:
                    13              SCOOBEEZ, et al.1,                                   2:19-bk-14991-WB, and 2:19-bk-14997-WB
                    14                                                                   Chapter 11
                                             Debtors and Debtors in
                    15                       Possession.         DECLARATION OF MEREDITH
                                                                 RICCIO IN SUPPORT OF AMAZON
                    16   _______________________________________ LOGISTICS, INC.’S SUPPLEMENTAL
                                                                 BRIEF IN SUPPORT OF ITS MOTION
                    17   Affects:                                FOR AN ORDER: (A) DETERMINING
                         ■ All Debtors                           THAT THE AUTOMATIC STAY DOES
                    18   □ Scoobeez, ONLY                        NOT REQUIRE AMAZON TO UTILIZE
                         □ Scoobeez Global, Inc., ONLY           DEBTOR’S SERVICES, AND (B)
                    19   □ Scoobur LLC, ONLY                     MODIFYING THE AUTOMATIC STAY
                    20                                                                   Judge: The Hon. Julia W. Brand
                    21                                                                   Date: February 25, 2020
                                                                                         Time: 10:00 a.m.
                    22                                                                   Ctrm: 1375
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                    27   1
                                The Debtors and the last four digits of their respective federal taxpayer identification numbers are as follows:
                                Scoobeez (6339); Scoobeez Global, Inc. (9779); and, Scoobur, LLC (0343). The Debtors’ address is 3463
                    28          Foothill Boulevard, in Glendale, California 91214.
MORGAN, LEWIS &
 BOCKIUS LLP                                                                         -1-
 ATTORNEYS AT LAW
   COSTA MESA
                Case 2:19-bk-14989-WB           Doc 623 Filed 02/20/20 Entered 02/20/20 15:50:52                 Desc
                                                 Main Document    Page 2 of 6


                     1          I, Meredith Riccio, declare:

                     2          1.      I am an attorney at law, duly admitted into practice in the State of Illinois. I am a

                     3   member of the law firm Morgan, Lewis & Bockius LLP, and act as counsel for Amazon

                     4   Logistics, Inc. (“Amazon Logistics”).

                     5          2.      I am currently in communication with counsel for a Scoobeez driver whose

                     6   employment by Scoobeez terminated in October 2019 and who alleges that Scoobeez failed to

                     7   compensate its drivers at the statutorily-required overtime rate for all hours worked per week in

                     8   excess of forty and failed to compensate its drivers for all hours worked in excess of eight (8) per

                     9   day.
                    10          3.      The above-referenced pending claim alleges ongoing wage and hour violations and

                    11   remains unresolved.

                    12          I declare under penalty of perjury that the foregoing is true and correct and that this

                    13   declaration was executed at Chicago, Illinois, on February 18, 2020.

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                                                                                 Meredith Riccio
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MORGAN, LEWIS &
 BOCKIUS LLP                                                             -2-
 ATTORNEYS AT LAW
   COSTA MESA
Case 2:19-bk-14989-WB   Doc 623 Filed 02/20/20 Entered 02/20/20 15:50:52   Desc
                         Main Document    Page 3 of 6




                                     -3-
Case 2:19-bk-14989-WB        Doc 623 Filed 02/20/20 Entered 02/20/20 15:50:52              Desc
                              Main Document    Page 4 of 6



2:19-bk-14989-WB Service List:

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3/25/1988

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                                              -4-
Case 2:19-bk-14989-WB        Doc 623 Filed 02/20/20 Entered 02/20/20 15:50:52        Desc
                              Main Document    Page 5 of 6


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                                              -5-
Case 2:19-bk-14989-WB       Doc 623 Filed 02/20/20 Entered 02/20/20 15:50:52          Desc
                             Main Document    Page 6 of 6


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2:19-bk-14989-WB Notice will not be electronically mailed to:


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                                             -6-
